Dear Secretary Blunt:
This letter is in response to your letter dated August 13, 1987, submitting to us a statement of purpose prepared pursuant to Section 116.334, RSMo 1986. A copy of your letter containing the proposed statement is attached. This statement is to be the petition title for a proposed amendment to Article X of the Missouri Constitution and also is to be the ballot title if the amendment is placed on the ballot. See our Opinion Letter No. 143-87.
We approve the legal content and form of the proposed statement. Under the provisions of Section 116.334, the approved statement of purpose, unless altered by a court, is the petition title for the measure circulated by the petition and the ballot title if the measure is placed on the ballot.
Very truly yours,
                                  WILLIAM L. WEBSTER Attorney General
Enclosure